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                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF GEORGIA
                             COLUMBUS DIVISION

JAMES EDWARD BROGDON, JR., et al.,           *

      Plaintiffs,                            *

vs.                                          *
                                                    CASE NO. 4:23-CV-88 (CDL)
FORD MOTOR COMPANY,                          *

      Defendant.                             *


                                   O R D E R

      The only thing rarer than a civil jury trial in federal court

these days is a jury trial that does not include a substantial

amount of canned deposition testimony.                The Court understands

lawyers’ inclination to favor deposition testimony, particularly

when critical admissions have been captured in the transcript

and/or video.      And the Court also appreciates the extra expense

and logistical challenges of having witnesses testify live.                     But

it has also been the Court’s experience over the last two decades

that there is no substitute for live witness testimony where the

witness   testifies     under    oath   in   open   court   subject     to    cross

examination in front of the factfinders who must evaluate the

witness’s credibility.         Therefore, the Court, consistent with the

Federal   Rules    of   Civil   Procedure    and    Evidence,     has   a    strong

preference for live testimony, unless exceptional circumstances

exist or the Federal Rules specifically authorize prior sworn

testimony in lieu of live testimony.
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     The Court has been bombarded with a plethora of deposition

designations for the upcoming trial in this action.                Abundant

objections have been made; but likely because of the enormity of

the task, many of those objections are not adequately explained

and thorough responses to the objections are virtually nonexistent

for similar reasons.    Yet, the Court is expected to parse through

hundreds of lines of prior sworn testimony (some of which has

already been considered by a state court judge) and decide these

objections in advance of trial without a full appreciation of the

context in which the testimony may be admitted.              Moreover, it

appears that some of the prior testimony has been designated out

of an abundance of caution and may never be tendered, thus making

the Court’s undertaking all for naught.            This is a waste of

judicial time and resources which could also affect the quality of

the rulings.    Accordingly, the Court notifies the parties as

follows:

     1. All witnesses must testify live unless they are excused

       from testifying under the Federal Rules of Civil Procedure

       and/or Federal Rules of Evidence.       As the Court understands

       the Rules, that means any witness who resides in Georgia

       must testify live, unless exceptional circumstances can be

       shown as to why they are otherwise unavailable.

     2. For those witnesses whose prior trial testimony and/or

       deposition testimony is authorized to be presented under


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   the Federal Rules in lieu of live testimony, the Court does

   not intend to rule on objections in advance of trial.

   Opposing counsel shall object at the time the objectionable

   question is asked and the Court will make a ruling from

   the bench at trial just as if the witness was testifying

   live.   In addition to improving the quality of the ruling

   because the Court will be able to consider the objection

   in the proper context, this deferral of ruling on the

   objections    until    trial   should     give   counsel     additional

   opportunity    to     thoughtfully      consider     whether    certain

   designated testimony should be undesignated in light of

   legitimate objections and whether some objections should

   be withdrawn upon further reflection and not insisted upon

   at trial.

3. To facilitate an efficient trial and out of respect for

   the time of the jurors, counsel should inform opposing

   counsel as soon as they are aware of the following: (a)

   that they will definitely not be calling a witness by

   deposition, prior sworn trial testimony, or live; and (b)

   for witnesses whose testimony they do intend to present,

   whether they intend to present the testimony live or via

   prior sworn testimony.

4. As previously ordered at the pretrial conference, Defendant

   shall identify its trial representative by January 3, 2025,


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   so that Plaintiffs will know whether that person will be

   available    in   the    courtroom     to   call    as   a   witness   if

   necessary,    and     will   know    that   other    potential     trial

   representatives will not be physically present in the

   courtroom to be called live without the issuance of a

   subpoena.

IT IS SO ORDERED, this 27th day of December, 2024.

                                     S/Clay D. Land
                                     CLAY D. LAND
                                     U.S. DISTRICT COURT JUDGE
                                     MIDDLE DISTRICT OF GEORGIA




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